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13   in her capacity as Chapter 11 Trustee for
     Synapse Financial Technologies, Inc.
14

15                           UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA
16                             SAN FERNANDO VALLEY DIVISION
17   In re:                                       Case No.: 1:24-bk-10646-MB
18   SYNAPSE FINANCIAL TECHNOLOGIES,              Chapter 11
     INC.,
19                                                DECLARATION OF JELENA
                Debtor.                           MCWILLIAMS IN SUPPORT OF
20                                                BIDDING PROCEDURES MOTION
                                                  AND SALE MOTION
21

22                                                Date: TBD
                                                  Time: TBD
23                                                Place: Courtroom 303
                                                  21041 Burbank Boulevard
24                                                Woodland Hills, CA 91367
25

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 1           Ms. Jelena McWilliams, in her capacity as the chapter 11 trustee (the “Trustee”) appointed

 2   in the chapter 11 case (the “Case”) of Synapse Financial Technologies, Inc. (the “Debtor”), hereby

 3   declares as follows:

 4           1.      The Trustee has personal knowledge of the facts set forth below and, if called to

 5   testify, would and could competently testify thereto.

 6           2.      On May 24, 2024, following a hearing, the Court entered an order appointing a

 7   chapter 11 trustee (the “Appointment Order”) [Dkt. No. 196]. As a result, Jelena McWilliams was

 8   appointed by the U.S. Trustee as the Chapter 11 Trustee in the above-captioned Case and continues

 9   to act in that capacity.
10           3.      In her capacity as chapter 11 trustee, the Trustee has access to the Debtor’s books
11   and records and has become familiar with the organization, operations and financial condition of
12   the Debtor. Any records and documents referred to in this declaration constitute writings taken,
13   made or maintained in the regular or ordinary course of the Debtor’s business at or near the time
14   of act, condition or event to which they relate by persons employed by the Debtor who had a
15   business duty to the Debtor to accurately and completely take, make and maintain such records
16   and documents. The statements set forth in this declaration are based upon the Trustee’s own
17   review and knowledge of the Debtor’s books and records, and the Trustee’s own knowledge of the
18   Debtor’s efforts to raise additional capital and market and sell the Debtor’s assets as a going
19   concern over the course of the past year and earlier in this Case.
20           4.      The Trustee makes this declaration in support of the following motions (each a

21   “Motion” and, collectively, the “Motions”):

22
             1. Chapter 11 Trustee’s Motion For An Order (A) Approving Bidding Procedures With
23              Respect To The Transfer And Sale Of Substantially All Of The Debtor’s Assets,
                (B) Approving Procedures Related To The Assumption And Assignment Of Certain
24              Executory Contracts And Unexpired Leases, (C) Approving The Form And Manner Of
                Notices Related To The Auction And Sale, (D) Scheduling The Sale Hearing, And
25              (E) Granting Related Relief (the “Bidding Procedures Motion”); and

26           2. Chapter 11 Trustee’s Motion For An Order (A) Approving Sale Of Substantially All
                Of The Debtor’s Assets Free And Clear Of All Liens, Claims, Interests And
27              Encumbrances; (B) Approving Assumption And Assignment Of Unexpired Leases
                And Executory Contracts And Determining Cure Amounts; (C) Waiving The 14-Day
28              Stay Periods Of Bankruptcy Rules 6004(H) And 6006(D); And (D) Granting Related
                Relief (the “Sale Motion”).

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 1          5.      Unless otherwise stated with specificity or implied by context, capitalized defined

 2   terms used in this declaration have the same meanings as attributed to them in the Motions.

 3          6.      On April 22, 2024 (the “Petition Date”), the Debtor filed a voluntary petition under

 4   chapter 11 of 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), schedules and statement of

 5   financial affairs. That same day, the Debtor filed an emergency motion for an order approving the

 6   sale of all its assets for $9.7 million to TabaPay Holdings LLC and requested that a hearing take

 7   place on April 29, 2024. [Dkt. No. 8.] The Debtor has proprietary technology and software which

 8   essentially allows financial technology platforms called “fintechs” to provide certain financial

 9   products and services to the fintechs’ customers (referred to as end users) through certain banking
10   and financial service providers (“Partner Financial Institutions”). Id. The Debtor also filed a
11   motion to approve a settlement reached with Evolve Bank & Trust (“Evolve”), one of its Partner

12   Financial Institutions.

13          7.      On May 1, 2024, the Court entered an order approving bidding procedures and set

14   a hearing to approve the sale for May 9, 2024. [Dkt. No. 92.] The Debtor reported at the May 9

15   hearing that the settlement with Evolve had not been consummated due to disputes over Evolve

16   funding a settlement payment. The buyer reported that it was unwilling to proceed with the sale

17   without the Evolve settlement.

18          8.      On May 13, 2024, Evolve filed a motion for an order restoring access to the

19   “Debtor’s Dashboard System” or, alternatively, “Authorizing Evolve to Close all of the Debtor’s

20   Demand Deposit Accounts at Evolve Associated with Debtor’s Programs”. [Dkt. No. 137.] Evolve

21   alleged that it had been denied access to the Debtor’s computer systems and had been forced to

22   freeze end user accounts. Id.

23          9.      On May 13, 2024, the Court conducted a status conference on the sale and a hearing

24   on Evolve’s motion. Although extensive arguments were made by counsel and their clients

25   assessing relative blame, it was undisputed that end users had lost access to funds.

26          10.     On May 14, 2024, the Court conducted another status conference regarding access

27   of end users to their funds and for continued use of cash collateral. The Debtor and secured

28   creditors stated that they had agreed to the use of cash collateral through Friday, May 17.


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 1          11.     On May 15, 2024, the United States Trustee for the Central District of California

 2   (the “U.S. Trustee”) filed a motion on an emergency basis requesting that the Court enter an order

 3   converting the Chapter 11 Case to chapter 7 for cause, or, in the alternative, for the appointment

 4   of a chapter 11 trustee. [Dkt. No. 146.]. On May 24, 2024 (the “Appointment Date”), Jelena

 5   McWilliams was appointed as the Chapter 11 Trustee in this Case. [Dkt. No. 196.]

 6          12.     The Debtor was founded by Sankaet Pathak as “Synapse Payments LLC” in 2014

 7   and changed its name, pursuant to its conversion to a corporation, to “Synapse Financial

 8   Technologies, Inc.” in 2016. [Dkt. No. 12.] The Debtor represented itself as a technology and

 9   software company with a mission to ensure that everyone around the world has access to best-in-
10   class financial products, regardless of their net worth. Id. The Debtor has proprietary technology
11   and software which essentially allows financial technology platforms called “fintechs” to provide
12   certain financial products and services to the fintechs’ customers (referred to as “end users” to
13   avoid confusing them with the fintechs which are the Debtor’s only customers) through the
14   Debtor’s relationships with bank partners and other financial service providers (referred to as
15   “Partner Financial Institutions”). Id.
16          13.     The Debtor represented that it is one of the first technology companies to pioneer a

17   Banking as a Service (BaaS) platform to allow for the provision of Partner Financial Institutions

18   financial products (e.g., bank accounts, card products, cash management accounts and related

19   services, and loan products) to the customers of the fintechs (i.e., the End Users). Id.

20          14.     The Debtor’s primary assets that the Trustee is seeking to sell are its proprietary

21   technology platform and equity interests in its subsidiaries. To date, different prospective

22   purchasers who have discussed a potential transaction with the Trustee and advisors have indicated

23   that they are interested in acquiring a subset of the Debtor’s assets rather than substantially all its

24   assets. To that end, the Trustee may seek to sell distinct Synapse assets to separate bidders if she

25   concludes that that will provide the highest value to the Estate.

26          15.     Additional background information is included in Sankaet Pathak’s Declaration in

27   Support of First Day Motions filed on April 22, 2024 (the “April 22, 2024 Declaration”). Id.

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 1          16.     Since the Appointment Date, the Trustee and her advisors have focused their efforts

 2   on facilitating data sharing with its Partner Financial Institutions to enable them to reconcile

 3   ledgers and distribute funds to End Users of Synapse’s platform. The Trustee has received inbound

 4   inquiries to purchase assets of the Debtor’s estate. However, the Trustee and her advisors

 5   determined that it would be unduly burdensome and risky to effectuate a sale and transfer control

 6   of key Synapse systems while reconciliation efforts were ongoing. With an end to the

 7   reconciliation process in sight, the Trustee is seeking to formalize a sale process to receive the

 8   highest and best bid for some or all assets of the Debtor’s estate.

 9          17.     Notwithstanding the near-term completion of reconciliation work by Partner
10   Financial Institutions, due to the likely need for Synapse’s Partner Financial Institutions, in order
11   for fintech customers and end users to continue to access information and systems currently owned
12   by Synapse, and the substantial administrative claims of trade vendors key to that process, the
13   Trustee believes it is in the best interest of the Estate and its stakeholders to place value on bids
14   submitted in connection with the process that commits to assume claims of vendors that are
15   essential to keeping Synapse dashboard access alive, commits to providing information to the
16   Trustee, Synapse’s Partner Financial Institutions and fintech customers for a reasonable period
17   after closing of a sale to facilitate distributions to end users and fintech customers by Partner
18   Financial Institutions, and completes remaining reconciliation work, in accordance with applicable
19   law.
20          18.     After extensive consultation with the Trustee’s financial advisor GlassRatner

21   Advisory & Capital Group, LLC d/b/a B. Riley Advisory Services (“B. Riley”), and after taking

22   into account the Debtors’ financial situation, the Trustee established, subject to the approval of the

23   Bankruptcy Court and the consent of the Debtor’s secured creditors, the following proposed

24   timetable in order to achieve the highest and best price for the Debtor’s Purchased Assets:

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 1
                        Date                                   Deadline
 2
        October 25, 2024 at 4:00 p.m.        Initial Indication of Interest Deadline –
 3      (prevailing Pacific time)            This is the deadline for all parties who wish
                                             to be eligible to participate in the Auction to
 4                                           provide a non-binding written expression of
                                             interest and documentation pursuant to the
 5                                           “Participation Requirements” (as defined in
                                             Paragraph 5).
 6                                          Initial Bid Deadline – This is the deadline by
        November 1, 2024 at 4:00 p.m.
        (prevailing Pacific time)           when initial bids must be submitted by parties
 7                                          who wish to participate in the Auction. In order
 8                                          to participate in the Auction, all prospective
                                            bidders must comply with the bid requirements
 9                                          set forth in paragraph 9 of the Bidding
                                            Procedures and do all of the following:
10                                            • Submit definitive documentation to
                                                  acquire all or a part of the Purchased
11
                                                  Assets;
12
                                             •   Submit all documents to enable B. Riley
13                                               to determine whether the proposed bidder
                                                 is financially qualified to participate in
14                                               the Auction; and
15                                           •   Submit a deposit equal to 10% of the
16                                               purchase price, which deposit would be
                                                 deemed non-refundable if the bidder is
17                                               deemed to be the winning bidder at the
                                                 Auction and then the Trustee’s proposed
18                                               free and clear sale of the Purchased
                                                 Assets to the bidder is approved by the
19                                               Bankruptcy Court. Bidders will have the
20                                               right to withdraw their bid at any time up
                                                 until noon (prevailing Pacific time) on
21                                               November 14, 2024, in which case they
                                                 will receive a return of their deposit and
22                                               no longer be eligible to participate in the
                                                 Auction.
23

24      November 15, 2024 commencing         Auction – Auction         to   be   held   via
        at 10:00 a.m. (prevailing Pacific    videoconference.
25      time)
26

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 1
                            Date                                         Deadline
 2
          November 20, 2024 at 10 a.m.                 Sale Hearing – This is the hearing for the
 3        (prevailing Pacific time)                    Court to consider approval of the Trustee’s
                                                       proposed sale of the Purchased Assets to the
 4                                                     winning bidder or bidders at the Auction and
                                                       at which the Trustee will seek entry of an
 5                                                     order approving this Motion.

 6        November 27, 2024                            Sale Closing Deadline – This is the outside
                                                       date by when the winning bidder at the
 7                                                     Auction is required to close its purchase of
                                                       the Purchased Assets unless the winning
 8                                                     bidder and the Trustee jointly agree to extend
                                                       the outside closing date.
 9
10          19.     While there is no assurance that a proposed sale or sales will actually close, the best
11   chance this estate has of preserving as much value as possible is by virtue of a sale as soon as
12   possible. Accordingly, the Debtor requests that the Court schedule a sale hearing on November 20,
13   2024 or otherwise in a timeline that allows for the sale to close by November 27, 2024.
14          20.     The Trustee has concluded that the auction and bidding procedures outlined in the
15   Motions are designed to enable the Debtor’s estate to obtain the highest price possible for the
16   Purchased Assets (including after taking into account execution risk) and provide the greatest
17   possible recovery for the Debtor’s creditors. The Trustee believes that the sale process will be
18   thorough and adequate to obtain the highest and best offer for the Purchased Assets, subject to the
19   opportunity for others to participate in accord with the proposed Bidding Procedures.
20          21.     In connection with the above timeline, within one (1) business day after the Court’s
21   entry of the Bidding Procedures Order, the Trustee will make every effort to file with the Court
22   and serve the Proposed Sale Notice ((see Exhibit B to the Bidding Procedures Motion), upon all
23   known creditors and equity holders of the Debtor and its non-debtor subsidiaries and upon all
24   prospective bidders via overnight mail and via email to the extent email addresses are known so
25   that it is delivered no later than October 17, 2024.
26          22.     Additionally, if deemed appropriate, within one (1) business day after the Selection
27   of the Winning Bidder, the Trustee will make every effort to file with the Court and serve the
28   Proposed Assumption/Assignment Notice (see Exhibit C to the Bidding Procedures Motion) on

                                                       6
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 1   each counterparty (including non-debtor subsidiaries if applicable) to an executory contract or

 2   unexpired lease (a “Counterparty”) intended to be assumed and assigned to the Winning bidder

 3   and/or the Winning Backup Bidder via overnight mail and via email to the extent email addresses

 4   are known so that it is delivered no later than November 6, 2024.

 5          I declare under penalty of perjury that the foregoing is true and correct. Executed this

 6   7th day of October 2024.

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                                                         JELENA MCWILLIAMS
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Cravath, Swaine & Moore LLP, 2 Manhattan West, 375 Ninth Avenue, New York, NY 10001

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF JELENA MCWILLIAMS IN
SUPPORT OF BIDDING PROCEDURES MOTION AND SALE MOTION
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
10/7/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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Beth Ann R. Young           bry@lnbyg.com, bry@lnbyb.com



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 10/7/2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Darren Azman
One Vanderbilt Avenue
New York, NY 10017-3852

Jake Jumbeck
MCDERMOTT WILL & EMERY LLP
444 W. Lake Street, Suite 4000
Chicago, IL 60606-0029

Robert J Labate
400 South Hope Street, 8th Floor
Los Angeles, CA 90071

Neda Shapourian
Unit21, Inc.
49 Geary St. Ste 200
San Francisco, CA 94108


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 10/7/2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

None.



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  10/7/2024                         Robert N. Greenfield                                         /s/ Robert N. Greenfield
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
